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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISON

                                     CASE NO.: 21-cv-21443-KMW

  RICHARD WEST,

           Plaintiff,

  vs.

  NCL (BAHAMAS) LTD,
  a Bermuda company d/b/a
  NORWEGIAN CRUISE LINE

        Defendant.
  ______________________________/

                                   JOINT SCHEDULING REPORT

           Plaintiff, RICHARD WEST, and Defendant, NCL (BAHAMAS) LTD. d/b/a

  NORWEGIAN CRUISE LINE (“NCL”), by and through their respective undersigned counsel and

  pursuant to the applicable Federal Rules of Civil Procedure, Local Rules for the United States

  District Court for the Southern District of Florida, and this Honorable Court’s Order [DE 5], hereby

  file their Joint Scheduling Report as follows:

        A. A discussion of the likelihood of settlement

           As this case is in the early stages, the parties have not yet engaged in settlement discussions.

  However, the parties will endeavor to resolve this matter as expeditiously as possible.

        B. A discussion of the likelihood of appearance in the action of additional parties

           At this time, the parties do not anticipate that there will be any need for additional parties

  to be added. However, should the need arise, the parties will file an appropriate motion prior to

  the deadline set forth in the Joint Proposed Scheduling Order, attached hereto as Exhibit “A.”
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     C. A discussion on proposed limits on the time

         See Exhibit A.

     D. Proposals for the formulation and simplification of issues, including the elimination
        of frivolous claims or defenses, and the number and timing of motions for summary
        judgment or partial summary judgment

         The parties will have ongoing discussions throughout the litigation in an attempt to simplify

  the issues in this case including by and through use of requests for admissions or stipulations. The

  parties will file their respective motions for summary judgment, if appropriate, by the deadline set

  forth in Exhibit A.

     E. The necessity or desirability of amendments to the pleadings

         At this time, the parties do not anticipate the need for any amendments of the pleadings.

  However, should the need arise, the parties will file an appropriate motion prior to the deadline set

  forth in Exhibit A.

     F. The possibility of obtaining admissions of fact and document, electronically stored
        information or things which will avoid unnecessary proof, stipulations regarding the
        authenticity of documents, electronically stored information or other things, and the
        need for advance rulings from the Court on the admissibility of evidence

         The parties will work together to discuss admissions of fact and documents to avoid

  unnecessary proof and will confer regarding same prior to filing the pretrial stipulation.

     G. Suggestions for the avoidance of unnecessary proof and of cumulative evidence

         The parties will confer in an effort to come to agreements to avoid unnecessary proof and

  cumulative evidence prior to filing the pretrial stipulation.

     H. Suggestions on the advisability of referring matters to a magistrate judge or master

         At this time, the parties do not agree to the referral of any matters to a Magistrate Judge

  and reserve their rights to appeal to the District Court any matters not referred by agreement.




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     I. A preliminary estimate of the time required for trial

         At this time, the parties believe the time required for trial will be 3-5 days.

     J. Requested date or dates for conferences before trial, a final pretrial conference, and
        trial

         See Exhibit A.

     K. Any issues about: (i) disclosure, discovery, or preservation of electronically stored
        information, including the form or forms in which it should be produced; (ii) claims
        of privilege or of protection as trial-preparation materials, including -- if the parties
        agree on a procedure to assert those claims after production -- whether to ask the
        court to include their agreement in an order under Federal Rule of Evidence 502; and
        (iii) when the parties have agreed to use the ESI Checklist available on the Court’s
        website (www.flsd.uscourts.gov), matters enumerated on the ESI Checklist

             At this time, the parties do not anticipate any issues with the production of ESI.

     L. Any other information that might be helpful to the Court in setting the case for status
        or pretrial conference

         None at this time.

  Dated: September 1, 2021
         Miami, Florida

  Respectfully Submitted,

  /s/Rachael M. Fagenson, Esq.                          /s/David Markel, Esq.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that this 1st day of September 2021 I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record identified on the attached Service List

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel of parties who are not authorized

  to electronically receive Notices of Electronic Filing.


                                                By: /s/ Rachael M. Fagenson
                                                        Rachael M. Fagenson, Esq.



                                           SERVICE LIST

                               Richard West vs. NCL (Bahamas) Ltd.
                                  CASE NO.: 21-cv-21443-KMW
                   United States District Court for the Southern District of Florida

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